  Case 2:07-cr-20167-KHV           Document 746         Filed 10/30/15      Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )                   CRIMINAL ACTION
v.                                   )
                                     )                   No. 07-20167-07-KHV
BOYTINA LOCKE,                       )
                                     )
               Defendant.            )
_____________________________________)

                                  MEMORANDUM AND ORDER

       On July 24, 2012, the Honorable Beth Phillips of the United States District Court for the

Western District of Missouri, sitting by designation, sentenced defendant to 288 months in prison based

solely on a binding plea agreement under Rule 11(c)(1)(C), Fed. R. Crim. P. See Second Amended

Judgment In A Criminal Case (Doc. #714); Plea Agreement Pursuant To Fed. R. Crim. P. 11(c)(1)(C)

(Doc. #699) filed March 20, 2012. On September 15, 2015, the Court overruled defendant’s Motion

For Reduction Of Sentence Pursuant To Title 18 U.S.C. § 3582(c) (Doc. #737). This matter is before

the Court on defendant’s Motion To Proceed In Forma Pauperis (Doc. #742) and Motion For The

Appointment Of Counsel (Doc. #743), both filed October 1, 2015.

       Under Rule 24(a), Fed. R. App. P., defendant financially qualifies for in forma pauperis status.

Under Rule 24(a)(1)(C), defendant’s motion must also state the issues which he intends to present on

appeal. Rule 24(a) requires such a statement because the district court will deny in forma pauperis

status if it determines that the appeal is not taken in good faith. See Fed. R. App. P. 24(a)(3)(A). Good

faith is an objective standard measured by whether the appeal is “frivolous” or lacks a “rational

argument on the law or facts.” See Coppedge v. United States, 369 U.S. 438, 448 (1962). Defendant’s

motion and notice of appeal do not specify the issues that defendant intends to raise on appeal. Based

on the issues raised in his Motion For Reduction Of Sentence Pursuant To Title 18 U.S.C. § 3582(c)
  Case 2:07-cr-20167-KHV            Document 746           Filed 10/30/15     Page 2 of 2




(Doc. #737), the Court finds that defendant’s appeal is not made in good faith. As explained in the

Court’s Memorandum And Order (Doc. #740), defendant is not entitled to relief under Amendment 782

because (1) his sentence was based solely on a binding plea agreement under Rule 11(c)(1)(C), Fed.

R. Crim. P. and (2) his sentence of 288 months is below the low end of the amended guideline range.

The Court therefore overrules defendant’s motion to proceed in forma pauperis.

        Defendant also asks for appointment of counsel on appeal. Defendant has no constitutional or

statutory right to appointment of counsel in the prosecution of a motion to reduce sentence under

Section 3582(c)(2). In determining whether to appoint counsel, the Court generally considers several

factors including (1) the merit of the litigant’s claims; (2) the nature of the factual issues raised in the

claims; (3) the litigant’s ability to present his or her claims; and (4) the complexity of the claims

involved. See Williams v. Meese, 926 F.2d 994, 996 (10th Cir. 1991). Defendant has not shown that

he cannot adequately present his claim, which appears to involve a straight-forward application of

Section 3582(c)(2). In addition, as explained above and in the Court’s Memorandum And Order (Doc.

#740), defendant’s appeal appears to be clearly without merit. The Court therefore declines to appoint

counsel for defendant on appeal.

        IT IS THEREFORE ORDERED that defendant’s Motion To Proceed In Forma Pauperis

(Doc. #742) and defendant’s Motion For The Appointment Of Counsel (Doc. #743), both filed

October 1, 2015, be and hereby are OVERRULED.

        Dated this 30th day of October, 2015, at Kansas City, Kansas.

                                                          s/ Kathryn H. Vratil
                                                          KATHRYN H. VRATIL
                                                          United States District Judge




                                                    -2-
